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                     IN THE UNITED STATES DISTRICT COURT
                     DISTRICT OF UTAH, CENTRAL DISTRICT
                                                    INDICTMENT

                                         VIOLATIONS:

                                         COUNT I: 18 U.S.C. §§ 111 l(a) and
 UNITED STATES OF AMERICA,               1153(a), Murder in the Second Degree
                                         While Within Indian Country
       Plaintiff,                        (RED FOOT);
                                         COUNT II: 18 U.S.C. §§ 113(a)(3) and
       vs.                               1153(a), Assault with a Dangerous
                                         Weapon While Within Indian Country
 BRANDON REDFOOT and RACHEL              (RED FOOT);
 CORNPEACH,                              COUNT III: 18 U.S.C. § 922(g)(l) Felon
                                         in Possession of a Firearm (RED FOOT);
       Defendants.                       COUNT IV: 18 U.S.C. § 924(c)
                                         Discharge of a Firearm During and in
                                         Relation to a Crime of Violence
                                         (REDFOOT);
                                         COUNT V: 18 U.S.C. § 924(c)
                                         Discharge of a Firearm During and in
                                         Relation to a Crime of Violence
                                         (RED FOOT);
                                         COUNT VI: 18 U.S.C. § 3 Accessory
                                         After the Fact (CORNPEACH);
                                         COUNT VII: 18 U.S.C. § 3 Accessory
                                         After the Fact (CORNPEACH).




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      The Grand Jury charges:

                                     COUNT I
                Murder in the Second Degree While Within Indian Country
                            (18 U.S.C. §§ llll(a) and 1153(a))

       On or about June 8, 2018, in the Central Division of the District of Utah,

                                 BRANDON REDFOOT,

the defendant herein, an enrolled member of the Ute Indian Tribe, while within the

exterior boundaries of the Uintah and Ouray Reservation, Indian Country, did unlawfully

kill J.R., with malice aforethought; all in violation of 18 U.S.C. §§ 111 l(a) and 1153(a).


                                      COUNT II
          Assault with a Dangerous Weapon While Within Indian Country
                         (18 U.S.C. §§ 113(a)(3) and 1153(a))

       On or about June 7, 2018, in the Central Division of the District of Utah,

                                 BRANDON REDFOOT,

the defendant herein, an enrolled member of the Ute Indian Tribe, while within the exterior

boundaries of the Uintah and Ouray Reservation, Indian Country, did assault J.R., with a

dangerous weapon, to wit, a gun, with intent to do bodily harm to J.R.; all in violation of

18 U.S.C. §§ 113(a)(3) and 1153(a).

                                      COUNT III
                            Felon in Possession of a Firearm
                                 (18 u.s.c. § 922(g)(l))

       Beginning on or about May 30, 2018, through on or about June 7, 2018, in the

Central Division of the District of Utah,

                                 BRANDON REDFOOT,


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'
    the defendant herein, having been convicted of a crime punishable by imprisonment for

    more than one year, did knowingly possess, in and affecting interstate commerce, a firearm,

    to wit: a Keltec 9mm caliber firearm; all in violation of 18 U.S.C. § 922(g)(l).

                                       COUNT IV
           Discharge of a Firearm During and in Relation to a Crime of Violence
                                   (18 U.S.C. § 924(c))

           On or about June 7, 2018, in the Central Division of the District of Utah,

                                     BRANDON REDFOOT,

    the defendant herein, did knowingly use and carry and discharge a firearm during and in

    relation to a crime of violence, unlawfully kill J.R., with malice aforethought as alleged in

    Count I of the present Indictment, which is incorporated by reference herein; all in violation

    of 18 U.S.C. § 924(c)(l)(A).

                                        COUNTV
            Discharge of a Firearm During and in Relation to a Crime of Violence
                                    (18 U.S.C. § 924(c))

           On or about June 7, 2018, in the Central Division of the District of Utah,

                                      BRANDON REDFOOT,

    the defendant herein, did knowingly use and carry and discharge a firearm during and in

    relation to a crime of violence, unlawfully assault J.R. with a dangerous weapon, with

    intent to do bodily harm to J.R as alleged in Count II of the present Indictment, which is

    incorporated by reference herein; all in violation of 18 U.S.C. § 924(c)(l)(A).

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                                      COUNT VI
                                Accessory After the Fact
                                    (18 u.s.c. § 3)

      On or about June 8, 2018, in the Central Division of the District of Utah,

                                RACHEL CORNPEACH,

the defendant herein, knowing that an offense against the United States has been

committed, to wit, Brandon Redfoot had committed Murder while within Indian Country

in violation of 18 U.S.C. § 111 l(a) and 1153(a), as charged in Count I of the present

Indictment, did receive, relieve, comfort, and assist Brandon Redfoot in order to hinder

and prevent the his apprehension, trial, and punishment, for said offense, in violation of

18 u.s.c. § 3.


                                     COUNT VII
                                Accessory After the Fact
                                    (18 u.s.c. § 3)

       On or about June 8, 2018, in the Central Division of the District of Utah,

                                RACHEL CORNPEACH,

the defendant herein, knowing that an offense against the United States has been

committed, to wit, Brandon Redfoot had committed Assault with a Dangerous Weapon

while within Indian Country in violation of 18 U.S.C. § 113(a)(3) and 1153(a), as

charged in Count II of the present Indictment, did receive, relieve, comfort, and assist

Brandon Redfoot in order to hinder and prevent the his apprehension, trial, and

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II

punishment, for said offense, in violation of 18 U.S.C. § 3.

                                          A TRUE BILL:



                                          FOREPERk~JOF         THE GRAND JURY

JOHN W. HUBER
United States Attorney



~re
MICHAELiTHO
CARLOS A. ESQUEDA
Assistant United States Attorneys




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